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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                             8:13-CR-43

vs.
                                                TENTATIVE FINDINGS
FRANCISCO JAVIER AVILA-
NUNEZ,

                 Defendant.

      The Court has received the presentence investigation report in this
case. Both the government (filing 645) and the defendant (filing 646) have
objected to the presentence report.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005) and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   Both parties have objected to the presentence report based on its
     inconsistency with the plea agreement: specifically, they object to the
     drug quantity calculation and the application of a three-level
     adjustment for the defendant's aggravating role in the offense. Filings
     645 and 646. Pursuant to U.S.S.G. § 3B1.1(a), a defendant's offense
     level is increased by four levels if the defendant was an organizer or
     leader of a criminal activity that involved five or more people or was
     otherwise extensive. If the defendant was a manager or supervisor (but
     not an organizer or leader) of such criminal activity, a three-level
     increase should be applied. § 3B1.1(b). And if the defendant was an
     organizer, leader, manager, or supervisor of any less extensive criminal
     activity, a two-level increase should be applied. § 3B1.1(c).

     The government's objection asserts that "the evidence to establish the
     defendant as a leader/organizer is no longer available." Filing 645 at 1.
     The defendant, for his part, objects that any language regarding the
     defendant "being a leader or organizer" was removed from the plea
     agreement. Filing 646 at 1. But the presentence report does not say
     that the defendant was a leader or organizer, which would require a
     four-level increase: it says that the defendant "was a manager or
     supervisor (but not an organizer or leader) . . . therefore, three levels
     are added." So, the parties' objections are somewhat imprecise.
     Nonetheless, the Court takes their meaning. The Court will rule on
     both the drug quantity and the defendant's role in the offense at
     sentencing.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are

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     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 13th day of May, 2015.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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